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 5   Attorneys for Plaintiff
     DISPLAY TECHNOLOGIES, LLC
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 8
                     IN THE UNITED STATES DISTRICT COURT
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10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                             Case No.
     DISPLAY TECHNOLOGIES, LLC,
12                                             ORIGINAL COMPLAINT
                           Plaintiff,
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          v.
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     JVCKENWOOD USA CORPORATION,
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                           Defendant.
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 1         Plaintiff Display Technologies, LLC (“Plaintiff”) files this Complaint against
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     JVCKenwood USA Corporation (“Defendant”) alleging:
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 4
                                              PARTIES
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 6         1.     Plaintiff Display Technologies, LLC is Limited Liability Company organized
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     under the laws of the State of Texas having its principal place of business at 1400 Preston
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 9   Road, Ste. 400, Plano, Texas 75093.
10         2.     Upon information and belief, Defendant JVCKenwood USA Corporation is a
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     corporation organized and existing under the laws of the State of California with its
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13   principal place of business at 2201 E. Dominguez St., Long Beach, California 90810.
14   Defendant may be served through its registered agent for service of process, Corporation
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     Service Company, 251 Little Falls Dr., Wilmington, Delaware 19808.
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                                  JURISDICTION AND VENUE
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19         3.     This is an action for infringement of a United States patent arising under 35
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     U.S.C. §§ 271(a), 281, and 284 - 85. This Court has subject matter jurisdiction over this
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22   action under 28 U.S.C. §1331 and §1338(a).
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           4.     Venue is proper in this district under 28 U.S.C. § 1400(b). Upon information
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     and belief, Defendant has transacted business in this district, and has a regular place of
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26   business in Long Beach, California.
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 1          5.     Defendant is subject to this Court’s specific and general personal jurisdiction
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     under due process and the California Long Arm Statute because it conducts substantial
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 4   business in this forum, including: (i) at least a portion of the infringements alleged below;

 5   and (ii) regularly doing or soliciting business, engaging in other persistent courses of
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     conduct, and deriving substantial revenue from goods and services provided to individuals
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 8   in California and in this judicial district.
 9
                                                COUNT I
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11
                       (INFRINGEMENT OF U.S. PATENT NO. 9,300,723)
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            6.     On March 29, 2016, the United States Patent and Trademark Office issued
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     United States Patent No. 9,300,723 (the “’723 Patent”) for an invention titled “Enabling
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16   Social Interactive Wireless Communications.” A copy of the ’723 Patent is attached as
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     Exhibit A.
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            7.     Mr. Leigh M. Rothschild is listed as the inventor of the ’723 Patent.

20          8.     Plaintiff is the owner by assignment of the ’723 Patent with all rights in and
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     to that patent.
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23          9.     Defendant directly or through intermediaries, makes, uses, imports, sells, and

24   offers for sale products and systems (Kenwood DPX792BH and DPX702BH
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     (collectively, the “Accused Instrumentalities”)) that infringe claims 12, 14, 16, 17, and 20
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27   of the ’723 Patent.

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 1         10.    Upon information and belief, Defendant has been and is now infringing
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     claims 12, 14, 16, 17, and 20 of the ’723 Patent in the State of California, in this Judicial
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 4   District, and elsewhere in the United States, by, among other things, directly or through

 5   intermediaries, making, using, importing, selling and offering for sale media systems with
 6
     NFC and Bluetooth, i.e., the Accused Instrumentalities which all operate in substantially
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 8   the same manner covered by one or more claims of the ’723 Patent to the injury of
 9   Plaintiff. Defendant is thus infringing the ’723 Patent under the doctrine of equivalents.
10
     Defendant is therefore liable for infringement of the ’723 Patent under 35 U.S.C. §.
11

12   271(a).
13         11.    Upon information and belief, to the extent any marking was required by 35
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     U.S.C. § 287, predecessors in interest to the ’723 Patent complied with such requirements.
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16         12.    The Accused Instrumentalities infringe claim 12 of the ’723 Patent, and
17   includes a wireless receiver (a Bluetooth network adapter); a security measure (security
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     measures such as a Bluetooth PIN); and the media system disposed in an accessible
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20   relation to at least one interactive computer network that has a wireless range structured to
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     permit authorized access to at least one interactive computer network (a NFC chip which
22
     allows access to the Bluetooth network), the wireless mobile device within said wireless
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24   range, in which said wireless mobile device is detectable by said media system (the
25
     Accused Instrumentality automatically detects a smartphone with NFC when placed
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     within NFC range of the Accused Instrumentality), at least one digital media file initially
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28   disposed on the wireless mobile device (the smartphone includes one or more digital
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 1   media files such as music files), said media system being structured to detect said wireless
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     mobile device disposed within said wireless range (the Accused Instrumentality
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 4   automatically detects the smartphone when placed within NFC range), a communication

 5   link structured to dispose said media system and said wireless mobile device in a
 6
     communicative relation with one another through at least one interactive computer
 7

 8   network (the Accused Instrumentality includes a Bluetooth network adapter which places
 9   the NFC capable smartphone and the Accused Instrumentality in communication with one
10
     another), said communication link being initiated by said media system (it initiates the
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12   Bluetooth connection with the NFC capable smartphone), said wireless mobile device and
13   media system being structured to transmit at least one digital media file between said
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     communication link (the Accused Instrumentality includes a Bluetooth adapter which
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16   allows for the transmission of files between itself and the wireless mobile device), and
17   said communication link is structured to bypass the security measure of the media system
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     for a limited permissible use of the communication link by the wireless mobile device for
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20   only transferring the at least one digital media file to, and displaying the at least one
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     digital media file on, the media system (the Accused Instrumentality bypasses the security
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     measure of the Bluetooth network adapters using the NFC adapter, for the limited purpose
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24   of playing one or more digital media files). See Ex. B, Figs. 1-3.
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           13.    The Accused Instrumentalities infringe claim 14 of the ’723 Patent, where
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     the transmission of the at least one digital media file from the wireless mobile device to
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28   the media system completely bypasses the security measure (the Wi-Fi security settings
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 1   such as encryption or password requirements are completely bypassed for the purpose of
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     transmitting the digital media file such as a photo). See Ex. B. Figs, 1-3.
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 4         14.    The Accused Instrumentalities infringe claim 16 of the ’723 Patent, as it is an

 5   audio system. See Ex. B. Figs, 1-3.
 6
           15.    The Accused Instrumentalities infringe claim 17 of the ’723 Patent, where
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 8   the communication link is at least one of a peer-to-peer connection, Bluetooth connection,
 9   and a Wi-Fi connection (a Bluetooth connection). See Ex. B. Figs, 1-3.
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           16.    The Accused Instrumentalities infringe claim 20 of the ’723 Patent, where
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12   the at least one media file is provided by the wireless mobile device (the digital media file
13   is provided by the NFC smartphone). See Ex. B. Figs, 1-3.
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           17.    As a result of the Defendant’s infringement of the ’723 Patent, Plaintiff has
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16   suffered monetary damages in an amount not yet determined and will continue to suffer
17   damages in the future unless Defendant’s infringing activities are enjoined by this Court.
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           18.    Unless a permanent injunction is issued enjoining Defendant and its agents,
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20   servants, employees, attorneys, representatives, affiliates, and all others acting on their
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     behalf from infringing the ’723 Patent, Plaintiff will be irreparably harmed.
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23                                    PRAYER FOR RELIEF
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25   Plaintiff requests that this Court enter:
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           1.     A judgment in favor of Plaintiff that Defendant has infringed the ’723 Patent;
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 1          2.    A permanent injunction enjoining Defendant and its officers, directors,
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     agents, servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all
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 4   others acting in active concert with them from infringement, inducing the infringement of,

 5   or contributing to the infringement of the ’723 Patent, or such other equitable relief the
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     Court determines is warranted;
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 8          3.    A judgment and order requiring Defendant pay to Plaintiff its damages, costs,
 9   expenses, and prejudgment and post-judgment interest for Defendant’s infringement of
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     the ’723 Patent as provided under 35 U.S.C. § 284, and an accounting of ongoing post-
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12   judgment infringement; and
13          4.    All other relief, at law or equity, to which Plaintiff may show itself to be
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     entitled.
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16                                 DEMAND FOR JURY TRIAL
17          Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by
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     jury of any issues so triable by right.
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 1   Dated: August 17, 2018               SPENCER FANE LLP
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                                     By: /s/ Bart Dalton
 3                                       BART DALTON
                                         Attorney for PLAINTIFF
 4                                       DISPLAY TECHNOLOGIES, LLC
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